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     Via CM/ECF                                                   September 19, 2022

     Raymond J. Dearie
     Special Master
     United States District Court
     Southern District of Florida
     701 Clematis Street
     West Palm Beach, FL 33401

             RE: Trump v. United States, No. 22-81294 (S.D. Fla.)

     Dear Judge Dearie:

              On September 16, 2022, Your Honor invited the parties to the above-captioned
     litigation to provide a docketed letter with suggestions regarding the agenda for tomorrow’s
     hearing before Your Honor. ECF 94. This afternoon, Your Honor provided the parties with
     a Draft Case Management Plan (the “Draft Plan”). By way of responding to the invitation
     for agenda topics and as an initial request for consideration of modifying the Draft Plan,
     the Plaintiff states as follows:

             The District Court’s order indicates a presumptive end-date of November 30, 2022.
     The proposed calendar, circulated today to the parties only, compresses the entirety of the
     inspection and labeling process to be completed by October 7, 2022. We respectfully
     suggest that all of the deadlines can be extended to allow for a more realistic and complete
     assessment of the areas of disagreement. Along those lines, and to assure this Court that
     the parties are operating with appropriate urgency, we would suggest a status conference
     in roughly two weeks to gauge how long the inspection process and rolling categorizations
     are taking and to take a fact-based measure of the likely duration of these events.

            In the meantime, we provide below an informal “grid” of party obligations under
     Judge Cannon’s order and possible deadlines to be discussed tomorrow or soon after:

      Responsibility                                            Deadline

      Government to provide copies of filter team documents Complete
      considered possibly privileged (Exh. A)

      Government to provide copies of all other documents TBD
      except those marked classified (largest cache)
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      Responsibility                                             Deadline

      Government to make available documents marked TBD (next week?)
      “classified” and attached papers (prioritized in Order)

      Plaintiff to create privilege log (with basis) for Exh. A TBD (two weeks?)
      documents

      Plaintiff to categorize (four categories) remaining Mid-October
      seized documents (largest cache)

      Special Master to provide logs to DOJ to identify
      disputed areas

      Special Master to make report and recommendations on Late October
      areas of disagreement

      Special Master to establish deadline for Plaintiff filings Early November
      under Rule 41(g) or related to Rule 41(g)

      Special Master deadlines for reply and responses to any Mid-November
      pleadings

      Hearing on any Rule 41 or related filings                  Late November

             Finally, although we recognize the time for full objections on the Draft Plan is not
     today, we are concerned that it contemplates resolving issues that were not raised by Judge
     Cannon in her order, her order denying the stay, or oral argument. Specifically, Judge
     Cannon was aware of the likelihood of eventual Rule 41(g) litigation and established a
     process by which the Special Master would evaluate any such claims before reporting and
     recommending to the Court. While the Plaintiff is, of course, willing to brief anything
     ordered by the Court under the auspices of the Special Master, we are concerned that the
     Draft Plan directs the Plaintiff to address whether Rule 41(g) litigation should be litigated
     under Case No. 9:22-MJ-08332-BER. The Plaintiff respectfully sees no indication the
     District Court planned to carve out related litigation for a merits determination by the
     issuing magistrate for the warrant in question. Most importantly, none of the District
     Court’s Orders have ever indicated that this was even a consideration.

            Similarly, the Draft Plan requires that the Plaintiff disclose specific information
     regarding declassification to the Court and to the Government. We respectfully submit that

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     the time and place for affidavits or declarations would be in connection with a Rule 41
     motion that specifically alleges declassification as a component of its argument for return
     of property. Otherwise, the Special Master process will have forced the Plaintiff to fully
     and specifically disclose a defense to the merits of any subsequent indictment without such
     a requirement being evident in the District Court’s order.

             In short, the Plaintiff has every interest in expeditiously moving forward on the
     document review, characterizations, and any ensuing litigation. With the Government’s
     help, in terms of access to the materials and clearance for Plaintiff’s attorneys, we believe
     the parties can meet the expected deadline of November 30. While we have concerns about
     the inclusion of two aspects within the Draft Plan (timing of any declassification
     disclosures and briefing regarding reversion to the issuing magistrate), we are otherwise in
     general agreement with Your Honor’s proposed sequencing but suggest addressing the
     potential deadlines at tomorrow’s status conference.

            Thank you for the opportunity to present some of these issues by way of assisting
     with tomorrow’s agenda.

                                                   Sincerely,




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